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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


Michael Cardwell,

              Plaintiff,
                                   COURT FILE NO.:        11-CV-2094 JAR/KMH
v.

Cole Tanner & Wright, Inc.,

              Defendant.


                           COMPLAINT AND JURY DEMAND


                                     JURISDICTION

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

2.    This action arises out of the Defendant’s violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                         VENUE

3.    Venue is proper in this District because the acts and transactions occurred here,

      the Plaintiff resides here, and the Defendant transacts business here.

                                        PARTIES

4.    Plaintiff, Michael Cardwell, is a natural person who resides in the City of Prairie

      Village, County of Johnson, State of Kansas.

5.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

6.    The Plaintiff is an “any person” as that term is used within 15 U.S.C. § 1692 et seq.
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7.    Defendant Cole Tanner & Wright, Inc. is a foreign corporation with no listed Kansas

      resident agent, operating from an address of 10333 Harwin, Suite 150, Houston,

      Texas 77036.

8.    The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

9.    The principal purpose of the Defendant is the collection of debts using the mails

      and telephone, and the Defendant regularly attempts to collect debts alleged to be

      due another.

                               FACTUAL ALLEGATIONS

10.   Sometime prior to the filing of the instant action, the Plaintiff allegedly incurred a

      financial obligation that was primarily for personal, family or household purposes

      and is a “debt” as that term is defined by 15 U.S.C. § 1692a(5),(hereinafter the

      “Account”)..

11.   The Account was allegedly not paid and it went into default with the creditor.

12.   Sometime thereafter, the alleged debt was assigned, placed or otherwise

      transferred to the Defendant for collection from the Plaintiff.

                                       DEFENDANT

13.   During the year prior to the filing of the instant action, the Plaintiff participated in

      telephone calls with and received correspondence from representatives,

      employees and/or agents of the Defendant who were attempting to collect the

      Account.   These     telephone    calls   and correspondence        each    individually

      constituted a “communication” as defined by FDCPA § 1692a(2).
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14.   During the telephone calls representatives, employees and/or agents of the

      Defendant falsely stated that Plaintiff had committed a felony in violation of 15

      U.S.C. § 1692e preface and (4).

15.   In the correspondence Defendant failed to provide the information required by 15

      U.S.C. § 1692e(11).

16.   In the correspondence Defendant falsely stated that Plaintiff must contact them

      immediately in violation of 15 U.S.C. § 1692e preface.

17.   The foregoing acts and omissions are unfair practices and violate 15 U.S.C. §

      1692f.

18.   As a consequence of the Defendant’s collection activities and

      communications, the Plaintiff has suffered actual damages, including

      emotional distress.


                                  RESPONDEAT SUPERIOR

19.   The representatives and/or collectors at the Defendant were employees of and

      agents for the Defendant, were acting within the course and scope of their

      employment at the time of the incidents complained of herein and were under the

      direct supervision and control of the Defendant at all times mentioned herein.

20.   The actions of the representatives and/or collectors at the Defendant are imputed

      to their employer, the Defendant.

21.   As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered

      the aforementioned damages.
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                                 JURY TRIAL DEMAND

The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

Fed. R. Civ. Pro. 38.

                         DESIGNATION OF PLACE OF TRIAL

     Plaintiff requests Kansas City, Kansas as the place of trial.



                                          PRAYER

WHEREFORE, the Plaintiff prays that the Court grants the following:

1.     Actual damages under 15 USC § 1692k(a)(1).

2.     Statutory damages under 15 USC § 1692k(a)(2)(A).

3.     Reasonable attorneys fees and costs pursuant to 15 USC § 1692k(a)(3).

4.     A finding the Defendant violated the FDCPA.

5.     Such other and further relief as the Court deems just and proper



                                           Respectfully submitted,



                                           /s/ J. Mark Meinhardt
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